Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 1 of 18




          EXHIBIT 32
      Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 2 of 18


OFFICE OF COMPLIANCE CONSULTANTS
15 WEST 5TH STREET · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370


                                                                                           Deputy Director
                                                                                     Nicole N. Austin Best
                                                                                           (347) 381-0728
                                                                   deputydirector@compliance-consultants.us


                                                                                    July 27, 2022

By Electronic Delivery
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

               Report on Environmental Conditions re: Benjamin v. Molina
                                                     75 Civ. 3073 (LAP)

Dear Judge Preska:

       Enclosed is OCC’s report on specific environmental conditions within the NYC jails,
pursuant to the late Judge Baer’s 2001 Order on: Environmental Conditions. This report
summarizes monitoring observations during January–April 2022 and provides an update on the
Defendants’ progress with respect to related orders entered by Judge Baer.

       .

                                                           Respectfully submitted,


                                                           Nicole N. Austin-Best
                                                           Deputy Director
                                                           Office of Compliance Consultants

       By Electronic Copy Only
       Cc: Law Department
           Chlarens Orsland, Esq.
           Min Kyung (Michelle) Cho, Esq.
           DOC Legal
           Laura Ahern, Esq.
           Melissa Guillaume, Esq.
           Legal Aid Society
           Veronica Vela, Esq.
           Robert Quackenbush, Esq.
           David Billingsley, Esq.
      Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 3 of 18

                                          TABLE OF CONTENTS


I.   INTRODUCTION…………………...……............................….…...…………...…..…….……….2



II. MONITORING OBSERVATIONS…….....…....................…………….….…...….….….….........4


       A. Sanitation………………………………………….…………....………......…….….…..…..4
                   1.   DOC Sanitation Reports…………….............…...…..…………..........…….........4
                              a. Defendants’ Obligations …….………..……….……………...……….4
                              b. Defendants’ Performance ….….……….……….……………………..4
                              c. Defendants’ Compliance ……………………………..………………..6
                                     i.   OCC Methodology and Analysis…………............................……9
                                     ii. Benjamin Inspection Protocol………….……………..….……..16
                                    iii. Discussion of Findings……………..….………….…...........…...18
                   2.   DOHMH Inspection Reports ..............................................................................35
                   3.   OCC Recommendations ……………………………………….………………39

       B. Ventilation…….……..…….………………….………….…...............................................43
                    1. Defendants’ Ventilation Reports…………………………..….………….…......43
                          a. Defendants’ Obligations …………….…………………………………..43
                          b. Defendants’ Performance ……………………………………………….43
                                     i. Quarterly Mechanical Equipment Inspection Reports...........……43
                                    ii. Monthly Airflow Reading Reports …………..…...................…...44
                                    iii. Airflow Deficiency Reports………………….……….…………..44
                                    iv. Monthly Intake Ventilation Reports …................................……..46
                                   v. Operational Windows ….………………………………..……….47
                          c. Defendants’ Compliance …………………….……………………..…....47

       C. Lighting………………….………………………………………….……….….........….....49
                         a. Defendants’ Obligations …….………..……….………………...……….49
                         b. Defendants’ Performance ….….……….……….………………………..49
                         c. Defendants’ Compliance ……………………………..…………………..50

       D. Fire Safety………….…………….……………………..………………….……...….........51



III. COMPLAINTS……….….……………………..….…………...........……………….…….........54



       1|P a g e
   Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 4 of 18




OFFICE OF COMPLIANCE CONSULTANTS
15 WEST 5th ST · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370




Report on
Environmental
Conditions
Benjamin v. Molina, 75 Civ. 3073 (LAP) Progress Report, January - April 2022




     Nicole N. Austin–Best
     7/27/2022
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 5 of 18
Benjamin v. Molina                                                                  Environmental Conditions
75 Civ. 3073 (LAP)                                                                  January–April 2022

     I. INTRODUCTION

           The Office of Compliance Consultants (“OCC”) is authorized to monitor the

   Defendants’—the City of New York’s (“NYC”) and the NYC Department of Correction’s

   (“DOC” or the “Department”)—compliance with the Court’s mandates contained in various

   orders: the Order re: Fire Safety, dated November 13, 1998; the Order on: Environmental

   Conditions (the “Environmental Order”), dated April 26, 2001; the Order re: Testing and Repair

   of Ventilation Systems (the “Ventilation Order”), dated November 14, 2003; the Amended

   Supplementary Order re: Repair and Renovation of Ventilation Systems (the “Am. Supp.

   Ventilation Order”), dated February 11, 2009; the Amended Order re: Lighting Conditions (the

   “Am. Lighting Order”), dated October 7, 2010; the “so ordered” Stipulation concerning

   withdrawal of sanitation motions and steps to improve sanitation (the “Sanitation Stipulation”),

   dated October 14, 2010; the Supplemental Order re: Construction Projects Required by Amended

   Supplementary Ventilation Order, dated October 20, 2011; the Second Supplemental Order re:

   Construction Projects Required by Amended Supplementary Ventilation Order, dated December

   18, 2012; and the Order re: Ventilation Reports, dated November 18, 2021.

           This report summarizes the status of sanitation, ventilation, lighting, and fire safety

   within various New York City jails as reviewed by OCC during January–April 2022 (the

   “monitoring period”). A summary of complaints reported to OCC by The Legal Aid Society’s

   Prisoners’ Rights Project (“LAS” or “Plaintiffs,” sometimes “Plaintiffs’ counsel”) conclude this

   report. As required by the Revised Order re: Timetable for Submission of OCC Progress

   Reports, dated January 14, 2021, a draft of this report was circulated to the parties on May 20,

   2022 for review and comment. The Court granted the parties two extensions to provide their

   comments to the draft report. The first was granted to the Defendants due to a scheduled




             2|P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 6 of 18
Benjamin v. Molina                                                                      Environmental Conditions
75 Civ. 3073 (LAP)                                                                      January–April 2022

   vacation, which changed the deadline from June 13, 2022 to June 27, 2022 and the second to the

   Plaintiffs due to illness, which extended the deadline to July 5, 2022. In accordance with

   longstanding practice, the parties’ July 5, 2022 comments to the draft report (“Defs.’ res.” and

   Pltfs.’ res.”) incorporated into and appended to this final version of the report.




             3|P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 7 of 18
Benjamin v. Molina                                                                   Environmental Conditions
75 Civ. 3073 (LAP)                                                                   January–April 2022

     II.   MONITORING OBSERVATIONS

       A. Sanitation

                1. DOC Sanitation Reports

                     a. Defendants’ Obligations

           The Department’s Environmental Health Officers and Public Health Sanitarians are

   required to inspect and report on the sanitation conditions within the jails. An Environmental

   Health Officer is a captain who conducts regular sanitation inspections of common areas at a

   designated facility and is required to “submit . . . reports of all such inspections, including a

   description of any ameliorative actions taken, planned[,] or recommended.” Id. at ¶ 3c. The

   Environmental Order requires Environmental Health Officers to “make a thorough inspection of

   the entire institution in the course of the week and [to] make more frequent inspections when

   necessary to respond to particular problems—e.g., inmate complaints.” ¶ 3b. The Environmental

   Health Officers are trained by the Department’s Environmental Health Unit, which is staffed by

   Public Health Sanitarians who are themselves required to complete “weekly inspections of all

   facilities as well as weekly reports of deficiencies” and “provide reports on a regular basis to

   [OCC] with respect to environmental conditions that are the subject of this Order.” Id. ¶ 4.

   Generally, an Environmental Health Officer inspects the assigned facility over the course of one

   week and a Public Health Sanitarian inspects the facility over one month.

                     b. Defendants’ Performance

           During this monitoring period, OCC received redacted Public Health Sanitarian (“PHS”)

   reports and Environmental Health Officer (“EHO”) reports from the Environmental Health Unit

   (“EHU”) intermittently from January 6–April 29, 2022. The PHS reports consisted of

   inspections conducted December 13, 2021–April 15, 2022 and the EHO reports consisted of




             4|P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 8 of 18
Benjamin v. Molina                                                                           Environmental Conditions
75 Civ. 3073 (LAP)                                                                           January–April 2022

   inspections conducted October 11, 2021–March 18, 2022. Each PHS report is comprised of

   individual inspections of several intake and living areas carried out on a specific date. The EHO

   reports, in comparison, are not comprised of individual inspections, but include several areas on

   each inspection report, dated for a specific day or several days depending on the facility. The

   PHS and EHO reports are provided to OCC as individual pages from larger reports instead of full

   reports since certain of the inspections involve matters or locations that are not currently subject

   to Benjamin monitoring. For example, OCC does not monitor staff areas, clinics and medical

   locations, and pantries; accordingly, some of the report pages provided to OCC are redacted or

   omitted for the same reason.

           The PHS and EHO reports, collectively, should provide a snapshot of the conditions

   observed by the Sanitarians and Officers at a given time and aid in the ongoing assessment of the

   sanitation conditions within the jails; however, not all facilities are included in the EHO reports

   and given the different formatting of these reports as well as the reporting differences among the

   individual facilities, it is difficult to discern violation locations and dates with the reporting

   covering multiple areas in a day in some facilities versus one week in others. To illustrate,

   attached is a table of the inspection details of the intake areas and the randomly selected living

   areas that were reviewed for this report along with a sample of the source reports.1 Att. 1.

           In addition to the differences mentioned above, information such as why a work order

   was submitted could not be gleaned from the reports. For example, starting with January 3, 2022

   and every week thereafter, RNDC 2 Lower South noted a ventilation deficiency that affected

   cells #3, #5, #7, #21, #25, #27, #29, and #30, but did not specify the issue that required the


   1
    The table is comprised of EHO inspection details from the January 3-7, 2022, January 10-14, 2022, January 17-21,
   2022, January 24-28, 2022, and January 31-February 4, 2022 redacted reports as submitted to OCC on March 22,
   24, and 31, 2022.




             5|P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 9 of 18
Benjamin v. Molina                                                                                 Environmental Conditions
75 Civ. 3073 (LAP)                                                                                 January–April 2022

   submission of work orders. OCC contacted the EHU, which then contacted the facility, and

   found out that the windows in the cells were closed, but a draft was coming through. OCC

   followed-up with the EHU, which contacted the facility again to ascertain that the windows were

   otherwise operational. (The work orders submitted for these and other issues remained opened

   as of the final EHO report submitted to OCC on April 29, 2022, despite the drafty conditions

   which were known since the winter months.) As noted earlier, all facilities are not included in

   the EHO reports, which makes it difficult to undertake a comprehensive review, but moreover,

   the EHO reports are not formatted for Benjamin compliance rating and it would take an

   inordinate amount of time for OCC to reformat and calculate compliance based on these reports.

   Nonetheless, OCC reviews and makes notes of the EHO findings; however, given the foregoing,

   these reports have not been formally reviewed in this report.

                      c. Defendants’ Compliance

               The Defendants are not in substantial compliance with the Court’s sanitation mandates

   but there has been some improvement with regard to the numbers of individual instances. Eighty

   percent with zero housekeeping management observations is the agreed upon minimum

   compliance percentage for the Department to meet accepted sanitation standards in individual

   intake and living areas.2 OCC’s analysis of the PHS findings indicates that during 145

   inspections of intake and living areas conducted January–April 2022, the EHU determined 54%

   indicated compliance, which is an improvement from 47% during the last monitoring period. In

           2
             [[T]he parties’ experts and OCC’s expert] adopted the 80% score with no sanitation management
           citations as the scoring criteria to determine a units (sic) pass or failure. The Department felt that a
           housekeeping score of 80% was easily achievable. The group felt that no sanitation management
           issues should exist, as these constitute the highest threat to human health.

   2013 ENVIRONMENTAL HEALTH INSPECTIONS FOR NEW YORK CITY JAIL FACILITIES AT RIKERS
   ISLAND at 3.




               6|P a g e
          Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 10 of 18
Benjamin v. Molina                                                                          Environmental Conditions
75 Civ. 3073 (LAP)                                                                          January–April 2022

   the report for that monitoring period (at 6) OCC clarified its position regarding the Defendants’

   reported compliance:

           As noted in OCC’s current and previous reports, there must be zero housekeeping
           management observations within the eighty percent compliance rate, which is not the
           case with the reported compliance rates because the Department’s reported compliance
           does not incorporate the triggering of management violations based on the frequency of
           Unclean to Sight, Surfaces (not) Smooth and Easily Cleanable, and Organic Soil
           Accumulations in a unit.

   OCC also expressed hope of a change in the Department’s practices (at 31) because the

   Defendants’ noted in their response to the draft of that report that with regard to this matter “the

   Department is open to discussion when the respective experts are able to assemble for a

   sanitarian inspection.” As the parties prepared for the commencement of the sanitation

   inspection on May 23, 2022, OCC still encouraged by the Defendants’ representation,

   recalculated the Department’s compliance to fully align with the inspection protocols and

   twenty-one inspections yielded scores of at least eighty percent with zero housekeeping

   management observations; therefore, the Department’s compliance is only 14%. Attached is a

   table of the compliant and noncompliant areas after OCC’s recalculations. Att. 2. (This matter

   is elaborated on in the applicable section of this report.) Throughout this report, the Defendants’

   compliance will be discussed within the contexts of their application of the sanitation protocols

   as well as how the sanitation protocols are designed to be implemented.

           In some cases, the Department can achieve actual compliance by following its own

   policies such as repairing structural surfaces that are in poor repair.3 “There are maintenance

   conditions that must be reported and repaired to ensure that all surfaces are cleanable. Missing


   3
    The Department’s uniform sanitation policies and procedures are mostly codified in Department of Correction
   Directives 3900R Environmental Health Program, 3901R-B Housekeeping Procedures, and 3906R-A Sanitation
   Supply Protocol and Storage, and supplemental documents, such as the Cleaning and Sanitizing Manual, the Inmate
   Rule Book, and various Teletypes, e.g., “Distribution of the Revised ‘Cleaning and Sanitizing Manual.’




             7|P a g e
          Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 11 of 18
Benjamin v. Molina                                                                Environmental Conditions
75 Civ. 3073 (LAP)                                                                January–April 2022

   tiles, plumbing leaks, missing/loose cove base, and trip/fall hazards must be reported

   expeditiously through the work order system.” DOC Cleaning and Sanitizing Manual at 11.

   OCC’s review of the inspection reports indicates that although such deficiencies were observed

   repeatedly throughout the monitoring period, work orders were rarely submitted, which may be

   because work orders were previously submitted and remained open. There were 194

   documented instances of missing (not cracked) tiles, missing/loose cove bases, and trip/fall

   hazards such as broken and uneven flooring in the survey sample during this monitoring period;

   however, only nine work orders were mentioned—all by the same PHS; indeed, that one PHS

   noted the submission of twenty-one of the twenty-two work orders documented by the

   Sanitarians during the monitoring period. Of course, the facilities also submitted work orders but

   as with the Sanitarians, when the work orders were submitted, the conditions remained for

   months resulting in the submission of an additional work order even though the Department

   prohibits more than one open work order for the same deficiency. For example, the PHS

   reported missing floor tiles in the janitor’s closet of RNDC 6 Central North on January 5, 2022

   and noted that a work order was submitted. On February 28, 2022, a different PHS noted the

   same condition during a follow-up inspection. During a subsequent inspection on March 25,

   2022, the PHS that conducted the first inspection again mentioned the missing floor tiles and

   noted the submission of an additional work order. The Defendants report that the entering of

   work orders into the Department’s electronic system “has been negatively impacted” by “staffing

   shortages” but “paperwork order forms have been utilized to identify and abate deficiencies.”

   Defs.’ resp. at 3. If the deficiencies are being abated it is unclear why the PHS observed the

   same deficiency repeatedly over the course of months and found it necessary to generate

   additional work orders.




             8|P a g e
          Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 12 of 18
Benjamin v. Molina                                                                           Environmental Conditions
75 Civ. 3073 (LAP)                                                                           January–April 2022

                                     i. OCC Methodology and Analysis

           For this monitoring period, OCC chose all intakes and the following randomly-selected

   living areas for review:

        1. AMKC Main Intake                      16. GRVC 19A                            31. RNDC Intake
        2. AMKC C-71 Intake                      17. NIC Main Intake                     32. RNDC 1 Upper South
        3. AMKC Dorm 2 Main                      18. NIC Annex Intake                    33. RNDC 2 Lower South
        4. AMKC Quad Lower 14                    19. NIC Dorm 3                          34. RNDC 2 Upper South
        5. AMKC Quad Lower 19                    20. NIC 5 South                         35. RNDC 5 Central North
        6. AMKC Quad Upper 8                     21. OBCC Main Intake                    36. RNDC 6 Central North
        7. AMKC West 17 Lower A                  22. OBCC Tower Intake                   37. RNDC Mod 1South
        8. EMTC Main Intake                      23. OBCC 1 North                        38. VCBC Intake
        9. EMTC 3 Upper                          24. OBCC 3 West                         39. VCBC 3A/B
        10. EMTC 5 Upper                         25. RMSC Intake                         40. VCBC 3C/A
        11. EMTC 8 Upper                         26. RMSC Building 9                     41. WF Main Intake
        12. EMTC 10 Main                         27. RMSC Infirmary                      42. WF CDU Intake (Sprung 5)
        13. GRVC Main Intake                     28. RMSC South 2B                       43. WF Sprung 8
        14. GRVC Segregation Intake              29. RMSC South 3B                       44. WF Sprung 10
        15. GRVC 7A                              30. RMSC South 5B
Note: Some locations were closed during some or all of the monitoring period. There was no B-Post Officer in AMKC
Quad Upper 8 on February 3, 2022, so that inspection did not proceed.

   The Court requires that “[s]hower facilities, janitor’s’ closets, laundry areas, and toilets,

   washbasins, sinks and other personal hygiene and sanitation facilities . . . be thoroughly cleaned

   and sanitized at least once daily and more often if necessary.” Environmental Order, ¶ 11a.4 The

   Department has removed most laundry areas, but the other types of sanitation facilities remain

   and are present in intake and living areas.

                                                    Intake Areas

           OCC reviewed sixty-five inspection reports of the intake areas in AMKC, EMTC,

   GRVC, NIC, OBCC, RMSC, RNDC, VCBC, and WF during January–April 2022. Compliance

   ratings ranged from 65.38 (AMKC Main Intake on March 16, 2022) to 93.02 (RMSC Intake on


   4
    This provision of the Environmental Order also requires that showers be power washed with a bleach solution on a
   quarterly basis. By Order re: Power Washing, dated December 14, 2010, the Court suspended this mandate and
   permitted the Department to steam clean or use less-damaging measures in an effort to preserve tile work.




             9|P a g e
             Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 13 of 18
Benjamin v. Molina                                                                          Environmental Conditions
75 Civ. 3073 (LAP)                                                                            January–April 2022

    January 11 and 21, 2022 and March 25, 2022). Of the eleven intake areas inspected during this

    monitoring period, the EHU found that two demonstrated compliance during each inspection5—a

    decrease from six during the last monitoring period—and the remaining nine were noncompliant

    during one or more inspections with the OBCC Tower Intake failing each of four inspections.

    When the sanitation protocols are applied as designed, none of the intake areas demonstrated

    compliance during every inspection. The Defendants believe they will be able to achieve

    compliance because “[a] cleaning schedule has been identified for every Intake which divides the

    Intake into 21 distinct modules to be thoroughly cleaned each tour. This process ensures that the

    entire Intake is thoroughly cleaned every week as Intakes are too large to thoroughly clean

    during Sunday [General Inspection].” Defs.’ resp. at 3.

                                                     Living Areas

              “Every living area (cells, dormitory, and modular sleeping areas, and showers/bathrooms

    and dayrooms in each of these units) shall be thoroughly cleaned and sanitized each week.”

    Environmental Order, ¶ 11c. Further:

              Each housing area shall have an adequately ventilated [janitor’s] closet equipped with a
              sink, or accessible to a sink, and shall have an adequate supply of cleaning implements
              and supplies, accessible to all detainees, so that each detainee can clean his cell daily and
              so that common areas of the housing blocks can also be cleaned. All cleaning
              implements shall be cleaned thoroughly after each use and stored in a clean, adequately
              ventilated place.

    Id. ¶ 11f–g.

              OCC reviewed eighty inspection reports of living areas in AMKC, EMTC, GRVC, NIC,

    OBCC, RMSC, RNDC, VCBC, and WF during January–April 2022. Compliance ratings ranged

    from 53.33 (AMKC West 17 Lower A on February 8, 2022) to 96.43 (RNDC 2 Upper South on



    5
        NIC Annex Intake and RMSC Intake




               10 | P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 14 of 18
Benjamin v. Molina                                                                 Environmental Conditions
75 Civ. 3073 (LAP)                                                                   January–April 2022

    February 28, 2022). Of the thirty housing areas reviewed for compliance, the EHU found eight

    were compliant during each of at least two inspections6—a slight increase from seven during the

    last monitoring period. An additional three living areas were inspected only once during the

    monitoring period and the EHU assessed those areas as compliant during their individual

    inspections.7 The EHU assessed the remaining nineteen as noncompliant during one or more

    inspections and six of those living areas were noncompliant during every inspection this

    monitoring period.8 When the sanitation protocols are applied as designed, NIC 5 South

    (inspected February 25, 2022 and March 16, 2022) is the only living area to pass every

    inspection during the monitoring period.

                                               Vacant Cells

            The Defendants, additionally, remain noncompliant in cleaning and maintaining vacant

    cells in accordance with the Court’s mandate that ‘[e]very cell shall be thoroughly cleaned and

    sanitized upon becoming vacant, shall be kept clean of garbage and debris while vacant, and

    shall be inspected prior to re-occupancy to ensure that it is cleaned and sanitized.”

    Environmental Order at ¶ 11c. In the sample reviewed by OCC, the Sanitarians visited fifty-one

    vacant cells, four of which were inspected twice during the monitoring period, resulting in fifty-

    five inspections. None of the vacant cells were clean and the Sanitarians recorded a combined

    185 violations. The Defendants acknowledge this deficiency and report “the cleanliness of

    vacant cells has been stressed at several Warden's Meetings held by the former Chief of

    Department and attended by Deputy Commissioner Patricia Feeney.” Defs.’ resp. at 3-4. It is



    6
      AMKC Quad Lower 19; GRVC 19A; NIC 5 South and Dorm 3; RMSC South 2B and South 5B; and RNDC 1
    Upper South and 2 Upper South
    7
      EMTC 10 Main; RMSC Infirmary and South 3B
    8
      AMKC Quad Lower 14, Quad Upper 8, and West 17 Lower A; RMSC Building 9; VCBC 3C/A; and WF Sprung 8




             11 | P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 15 of 18
Benjamin v. Molina                                                                Environmental Conditions
75 Civ. 3073 (LAP)                                                                  January–April 2022

    unclear if such discussions will continue with the restructuring of the Department and the

    replacement of the uniformed Chief position with a civilian manager.

                             DOC’s Practices and Plans to Improve Sanitation

            On February 14, 2022, the Defendants reported a series of previously undisclosed

    practices and plans to improve sanitation in response to OCC’s draft version of the September—

    December 2021 Report on Environmental Conditions. Plaintiffs’ counsel, likewise unaware of

    the Department’s efforts and plans, requested additional information and data in support of the

    Defendants’ claims of increased sanitation worker applications from incarcerated individuals and

    records of the weekly sanitation meetings chaired by the EHU among other things. Att. 3. In

    response, the Defendants provided several documents and a letter explaining the documents and

    their relevance to the discovery request. Att. 4. Foremost, the Defendants’ response to

    Plaintiffs’ discovery request indicates that documentation to support the Department’s claims of

    increased participation after notifying incarcerated individuals of wage increases does not exist.

    Nor are there records indicating how they were notified of the wage increases since these were

    all anecdotal reports or through oral communication and, for similar reasons, there are no

    documents showing an increase in incarcerated individuals reporting to work or the effectiveness

    of incentive programs.

            OCC was very interested in the production of the requested documents especially because

    the Defendants represented that “Commanding Officers will be required to submit written plans

    of action to improve sanitation in any area that fails more than one inspection.” Defs.’ February

    14, 2022 resp. at 6. The Defendants further reported, the DOC supervisory staff responsible for

    sanitation compliance will “conduct compliance inspections and review the implementation of

    these plans of action.” Id. The Defendants did not provide copies of the individual written plans



             12 | P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 16 of 18
Benjamin v. Molina                                                               Environmental Conditions
75 Civ. 3073 (LAP)                                                                 January–April 2022

    as characterized in the above response and were unable to produce any records of the related

    compliance inspections undertaken by management and facility administrators. Nonetheless,

    they provided their overall plan (also mentioned in their February 14 response)—a document

    titled, Plans to Improve Sanitation, which includes outlines of the generalized “causes of

    sanitation issues” and “suggestions to correct sanitation issues.” Att. 5.

            Among the causes are: “[s]upervisors do not know the proper cleaning and sanitizing

    procedures” with the corresponding suggestion to “[r]equest training for supervisors and inmate

    work details.” But while it is heartening to see the Department acknowledge its training and

    management deficiencies in this document, the Environmental Health Unit’s “PHS Sanitation

    Stats,” which tallies management violations among other things, gives an artificial sense of

    achievement by calculating and disseminating compliance scores that omit the clear management

    violation—“Cleaning and Sanitizing Procedures (not) Followed.” It appears that the EHU is

    focused on the obvious automatic failures caused by the enumerated management violations and

    the compliance scores without consideration of the several conditions that also contribute to

    administrative and managerial failures. On a pragmatic level, there is a discernable flaw in a

    system that would accept, for example, that the conditions noted in the table immediately below,

    as observed in RNDC 1 Upper South are as satisfactory as those in 2 Upper South and that they

    both indicate adherence to sanitation policies and procedures.




             13 | P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 17 of 18
Benjamin v. Molina                                                                Environmental Conditions
75 Civ. 3073 (LAP)                                                                  January–April 2022


               RNDC 1 Upper South (1-Apr)                         RNDC 2 Upper South (28-Feb)
      cell #1 (occupied)  dirty ceiling                         dayroom      peeling paint on ceiling
                          dirty floor                           showers      soap scum on floor
                          dirty wall(s)                                      soap scum on wall(s)
                          dirty window ledge(s)
     cell #19 (occupied)  dirty corners
                          dirty floor
     cell #20 (occupied)  dirty floor
                          toothpaste on wall(s)
      cell #3 (occupied)  dirty ceiling
                          dirty floor
                          dirty light shield(s)
                          dirty sink(s)
                          dirty toilet(s)
                          dirty wall(s)
        common area       dirty wall(s)
           dayroom        vent(s) dirty - wall
    dayroom furnishings dusty table frame(s)
       dayroom toilet     broken window sill
                          dirty light shield(s)
                          dirty window screen(s)
                          floor paint missing part(s)
                          rusted window sill
       janitor's closet   missing floor tile(s)
                          vent(s) dirty - ceiling

            The Department’s policies and procedures are adequate to prevent and address soiling

    and unsanitary conditions within the jails; however, such conditions clearly exist on a

    widespread level. This is largely because the cleaning and sanitizing policies and procedures are

    not being followed. OCC calls on the Defendants to explain why so many instances of clear

    failures to follow the Department’s policies and procedures, as regularly documented on the

    inspection reports, do not result in a management violation and automatically failed inspection.

    This is especially relevant when it is known that the “supervisors are not providing adequate

    instructions/training,” which is noted as one of the “causes of sanitation issues.” The sanitation

    protocols, when applied as designed, simplify the detection of such management violations.


             14 | P a g e
           Case 1:21-cv-09012-DLC Document 41-32 Filed 10/24/22 Page 18 of 18
Benjamin v. Molina                                                                 Environmental Conditions
75 Civ. 3073 (LAP)                                                                   January–April 2022

    “[T]he Department rejects this contention [arguing] it would effectively result in the double

    citation of a single deficiency.” Defs.’ resp. at 4. This is a misleading argument; for, the

    ongoing failure of a living area or intake to achieve minimum standards in sanitation is indeed a

    management issue and until these management violations are reliably identified they cannot be

    adequately addressed and the Department will have difficulty achieving actual compliance.




             15 | P a g e
